                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

ARCH INSURANCE COMPANY,                              )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )      Civil No. 3:15-cv-626
                                                     )      Judge Aleta A. Trauger
                                                     )
CAD ENGINEERING RESOURCES d/b/a                      )
CER GROUP NORTH AMERICA                              )
CORPORATION and RAYMOND LEE                          )
WAGNER, JR.,                                         )
                                                     )
       Defendants.                                   )

                                MEMORANDUM & ORDER

       Defendant CAD Engineering Resources (“CER”) has filed a Motion to Change Venue

(Docket No. 14), to which the plaintiff, Arch Insurance Company (“Arch”), has filed a Response

in Opposition (Docket No. 18). For the following reasons, the motion is denied.

                                       BACKGROUND 1

       This action arises from a dispute between the plaintiff, Arch (an insurer), and the

defendant, CER (Arch’s insured), as to whether insurance policies issued by Arch to CER apply

to an underlying litigation against CER brought by Raymond Lee Wagner, Jr. (also a defendant

in this action). Arch is a Missouri insurance company with a principal place of business in New

Jersey, while CER is a Michigan corporation that provides staffing for auto suppliers and other

manufacturers and has a principal place of business in Sterling Heights, Michigan. Mr. Wagner

       1
         Unless otherwise noted, the facts recounted in this section are drawn primarily from
CER’s Memorandum of Law in Support of its Motion to Change Venue and accompanying
exhibits (Docket Nos. 15–15-11) and Arch’s Memorandum in Response to the Motion to Change
Venue and accompanying exhibits (Docket Nos. 19–19-6) that are not refuted or contradicted by
the opposing party or the record.


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is an individual who resides in Charleston County, South Carolina.

        Arch has petitioned the court for a declaration that it has no duty to indemnify or defend

CER in connection with claims and damages asserted against CER by Mr. Wagner in a personal

injury suit currently before this court: Wagner v. International Automotive Components Group

North America, Inc., No. 3:14-cv-1831 (M.D. Tenn. filed Sept. 12, 2014) (the “Injury Action”).

        Arch issued two policies to CER in 2013: a Commercial General Liability Insurance

policy and a Commercial Excess Liability Insurance policy (the “Policies”). The Policies have

effective dates of March 1, 2013 and terms of 12 months. CER alleges that it purchased the

Policies from Arch as a result of discussions with agents of the Dudek Insurance Agency

(“Dudek”) in New Baltimore, Michigan. Specifically, CER asserts that, in January of 2012,

roughly a year before the Policies were issued, it solicited a quote for an insurance policy that

would cover its staffing business from a Dudek agent, Susan Starnes. (Docket No. 15, at p. 3.)

According to CER, Ms. Starnes then provided a quote from an affiliate of Arch for a “Staff Pak”

policy, which was advertised as insurance specifically designed and tailored for companies that –

like CER – are in the staffing business. (Id.) CER claims that it purchased the “Staff Pak”

policy from Arch because, based on these representations, it believed that the “Staff Pak” would

cover all aspects of its business. 2 (Id.)

        2
          In support of its factual claims regarding the discussions and negotiations leading to the
purchase of the Policies, CER attaches a series of emails between it and Ms. Starnes to its
Memorandum of Law in Support of its Motion to Change Venue. (See Docket Nos. 15-3–15-5
(Exs. C–E).) Arch argues that the court should not consider these emails in deciding whether to
transfer venue because they have not been authenticated and are not supported by any affidavit.
(Docket No. 19, at p. 6.) Although Arch questions the weight that should be given to these
emails in the court’s analysis, Arch does not appear to dispute the fact that there were insurance
agents located in Michigan who were instrumental in selling the Policies to CER and who are,
therefore, potential witnesses in this action. (See id.) The court will therefore consider these
basic facts about the potential witnesses in its analysis below.

                                                 2

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       On August 8, 2014, Mr. Wagner filed the Injury Action against CER and International

Automotive Components Group North America, Inc. (“IAC”). 3 The Injury Action arises from an

incident that occurred at a factory in Springfield, Tennessee (the “Springfield Plant”) while

Mr. Wagner was working there on a temporary basis. At the time of the incident, Mr. Wagner

claims that he was a resident of Tennessee and an employee of True Blue, Inc. d/b/a Labor

Ready (“True Blue”) and that he was assigned by True Blue to work at the Springfield Plant.

Mr. Wagner alleges that the Springfield Plant, which manufactures components that are placed

into new automobiles, was owned by IAC and operated jointly by IAC and CER. Mr. Wagner

further alleges that True Blue entered into a contract with IAC and/or CER to provide

Mr. Wagner’s services at the Springfield Plant. Mr. Wagner does not allege that he had any

direct contractual relationship with CER, and the records in this action and the Injury Action

contain no evidence of a direct contractual relationship between Mr. Wagner and CER.

       On August 11, 2013, Mr. Wagner claims that he was working at the Springfield Plant and

performing tasks alongside an employee of either IAC or CER. As Mr. Wagner was placing

material into a mold press, he alleges that the machinery resumed operation and crushed his

body, resulting in serious and permanent injuries. According to Mr. Wagner, IAC and CER had

exclusive control over the ownership, installation, maintenance, and servicing of the machinery

that caused his injury. The Injury Action advances claims against IAC and CER based upon
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          The background information regarding the Injury Action and the relationship between
Mr. Wagner and CER is based on the allegations in the Amended Complaint in the Injury Action
as cited and discussed by the parties in their briefings, (Docket No. 15, at pp. 3–4 (citing the
Amended Complaint in the Injury Action); Docket No. 19, at p. 2 (citing the Second Amended
Complaint in the Injury Action, which is similar to the Amended Complaint in all relevant
respects), and as construed by the court in its Memorandum discussing the court’s reasons for
denying CER’s and its co-defendant’s Joint Motion to Dismiss the Amended Complaint in the
Injury Action. Wagner, No. 3:14-cv-1831, 2015 WL 236500, at *1–2 (M.D. Tenn. Jan. 15,
2015).


                                                 3

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multiple theories of liability, each sounding in simple negligence.

       On September 10, 2014, after Mr. Wagner filed the Injury Action, CER sent notice and a

copy of Mr. Wagner’s complaint to Arch requesting coverage pursuant to the Policies. On

September 16, 2014, Arch denied coverage to CER, and CER proceeded to defend itself in the

Injury Action. On October 24, 2014, shortly after Arch denied coverage to CER, Mr. Wagner

filed the Amended Complaint in the Injury Action. 4

       On May 13, 2015, almost a year after Mr. Wagner filed the Amended Complaint, Arch

sent a letter to CER advising CER that it had reconsidered its coverage position and would

provide CER with a defense under a reservation of rights. Arch claims that the reconsideration

of coverage position was the result of Mr. Wagner’s filing an Amended Complaint, which Arch

had not known about because, according to Arch, CER had not forwarded the Amended

Complaint to Arch as instructed. (Docket No. 19, at pp. 2–3.)

       Shortly thereafter, on June 5, 2015, Arch filed the present action for declaratory relief

against CER and Mr. Wagner, requesting a declaration that it has no duty to indemnify or defend

CER in connection with the Injury Action. (Docket No. 1.) CER filed an Answer to the Petition

for Declaratory Relief on August 27, 2015 (Docket No. 10) and a Motion to Change Venue to

the Eastern District of Michigan on September 15, 2015 (Docket No. 14). In its Memorandum in

Support of the Motion to Change Venue, CER argued that the court should transfer this suit

because the Eastern District of Michigan would be more convenient for the parties and witnesses

and better serve the interests of justice. (Docket No. 15, at pp. 1–2, 7–11.) Arch filed a

Response in Opposition to CER’s Motion along with an accompanying Memorandum, arguing

that the court cannot transfer Arch’s suit to the Eastern District of Michigan because that court
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         On June 9, 2015, Mr. Wagner filed a Second Amended Complaint in the Injury Action
that contains the same allegations with regard to CER as the Amended Complaint.


                                                 4

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does not have jurisdiction over one of the defendants – Mr. Wagner. (Docket No. 18; Docket

No. 19, at pp. 4–5.)

                                             ANALYSIS

        Under 28 U.S.C. § 1404(a), “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought or to any district or division to which all parties have

consented.” With this statute, “Congress intended to give district courts the discretion to transfer

cases on an individual basis by considering convenience and fairness.” Kerobo v. Sw. Clean

Fuels, Corp., 285 F.3d 531, 537 (6th Cir. 2002).

        In ruling on a motion to transfer venue under § 1404(a), a “district court should consider

the private interests of the parties, including their convenience and the convenience of potential

witnesses, as well as other public-interest concerns, such as systemic integrity and fairness,

which come under the rubric of ‘interests of justice.’” Moore v. Rohm & Haas Co., 446 F.3d

643, 647 n.1 (6th Cir. 2002) (quoting Moses v. Bus. Card Express, Inc., 929 F.2d 1131, 1137

(6th Cir. 1991)); accord Kerobo, 285 F.3d at 537. The Sixth Circuit has suggested that relevant

factors to consider include: (1) the convenience of the parties and witnesses; (2) the accessibility

of evidence; (3) the availability of process to make reluctant witnesses testify; (4) the costs of

obtaining willing witnesses; (5) the practical problems of trying the case most expeditiously and

inexpensively; and (6) the interests of justice. Reese v. CNH Am. LLC, 574 F.3d 315, 320 (6th

Cir. 2009). The moving party bears the burden of establishing that these factors weigh in favor

of transferring venue. See, e.g., Picker Int'l, Inc. v. Travelers Indem. Co., 35 F. Supp. 2d 570,

573 (N.D. Ohio 1998); Blane v. Am. Investors Corp., 934 F. Supp. 903, 907 (M.D. Tenn. 1996).

        Even if these factors weigh strongly in favor of transferring venue, a court may only



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transfer a suit under § 1404(a) to a court “where it might have been brought” in the first place.

An action “might have been brought” in a transferee court if that court has subject matter and

personal jurisdiction over the defendants. See, e.g., Sunbelt Corp. v. Noble, Denton & Assocs.,

Inc., 5 F.3d 28, 33 (3d Cir. 1993) (concluding that the district court lacked the authority to

transfer a case to a jurisdiction in which the court did not have personal jurisdiction over a co-

defendant); Kay v. Nat’l City Mortg. Co., 494 F. Supp. 2d 845, 849 (S.D. Ohio 2007) (“An action

‘might have been brought’ in a transferee court if: (a) [t]he court has jurisdiction over the subject

matter of the action, (b) [v]enue is proper there, and (c) [t]he defendant is amenable to process

issuing out of the transferee court.”).

       CER argues that the convenience of the parties and witnesses and public interest concerns

weigh strongly in favor of transferring venue to the Eastern District of Michigan. In support,

CER notes that (1) the witnesses who could testify to the intended scope of the coverage under

the Policies, including non-party witnesses at Dudek, are located in Michigan; (2) documents and

communications between CER, Dudek, and Arch are located in Michigan; (3) the dispute

surrounds a contract entered into in Michigan and must, therefore, be interpreted under Michigan

law; and (4) Arch’s choice of forum should not be given much, if any, weight because, as an

insurance company denying coverage, it is the real defendant in these proceedings. (Docket No.

15, at pp. 8–11.) These points are well taken, and they do appear to weigh heavily in favor of

transferring the suit to the Eastern District of Michigan.

       The court cannot, however, grant such a transfer under § 1404(a), because the Eastern

District of Michigan does not have jurisdiction over Mr. Wagner and is, therefore, not a court in

which this suit “might have been brought.” Personal jurisdiction exists over a defendant “if the

defendant is amenable to service of process under the [forum] state’s long-arm statute and if the



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exercise of personal jurisdiction would not deny the defendant[] due process.” Bird v. Parsons,

289 F.3d 865, 871 (6th Cir. 2002) (quoting Mich. Coal. of Radioactive Material Users, Inc. v.

Griepentrog, 954 F.2d 1174, 1176 (6th Cir. 1992)). Even assuming that Mr. Wagner’s

relationship with CER satisfies Michigan’s long-arm statute (and it likely does not), 5 the Eastern

District of Michigan’s jurisdiction over Mr. Wagner remains limited by principles of due

process. A court cannot exercise personal jurisdiction over a defendant unless the defendant

possessed such “minimum contacts” with the forum state that exercising jurisdiction would

comport with “traditional notions of fair play and substantial justice.” Beydoun v. Wataniya

Rests. Holding, Q.S.C., 768 F.3d 499, 505 (6th Cir. 2014).

       The Sixth Circuit applies a three-pronged test to determine whether a defendant has

sufficient “minimum contacts” with a state to justify the exercise of jurisdiction over the

defendant in that state:

       First, the defendant must purposefully avail himself of the privilege of acting in
       the forum state or causing a consequence in the forum state. Second, the cause of
       action must arise from the defendant's activities there. Finally, the acts of the
       defendant or consequences caused by the defendant must have a substantial
       enough connection with the forum state to make the exercise of jurisdiction over
       the defendant reasonable.

Id. (quoting S. Mach. Co. v. Mohasco Indus., Inc., 401 F.2d 374, 381 (6th Cir. 1968)).

Purposeful availment happens when the defendant personally takes actions that create a

“substantial connection” with the forum state such that he can “reasonably anticipate being haled

into court there.” Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d 883, 889 (6th Cir. 2002)

       5
         Michigan’s long-arm statute provides for jurisdiction over those whose conduct
includes, among other things: “[t]he transaction of any business within the state,” or “[e]ntering
into a contract for services to be rendered . . . in the state by the defendant.” Mich. Comp. Laws
Ann. § 600.705 (emphasis added). As discussed infra, there is no evidence in the record
suggesting that Mr. Wagner transacted any business or contracted to render any services in the
State of Michigan.


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(quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985)).

       The record reflects no connection between Mr. Wagner and the State of Michigan

sufficient to justify the exercise of personal jurisdiction over him there, and CER has, therefore,

failed to meet its burden of demonstrating that a transfer of venue is appropriate under § 1404(a).

Although Mr. Wagner’s relationship with CER is not entirely clear from the record in this action

(or in the Injury Action), it appears that his only contact with CER was through True Blue, his

employer. 6 Mr. Wagner does not appear to have ever personally entered into a contractual

relationship with CER, and neither the allegations of the Amended Complaint in the Injury

Action nor the record in this action suggest that Mr. Wagner even knew that he was being staffed

at the Springfield Plant through a contract with a Michigan-based company. 7 Based on the

evidence currently before it, the court cannot say that Mr. Wagner purposefully availed himself

of the privilege of acting in Michigan or that he could reasonably have anticipated being haled

into court there. Accordingly, the court cannot conclude that Arch’s suit “might have been

brought” in the Eastern District of Michigan and, therefore, cannot transfer the suit to that court.




       6
         The court has not been able to find information in the record regarding where True Blue
is incorporated or has its principal place of business.
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          CER had the opportunity to submit evidence into the record that would demonstrate that
the Eastern District of Michigan would have personal jurisdiction over Mr. Wagner, but it has
not done so. CER has not filed a Reply to respond to Arch’s argument that CER’s preferred
forum lacks personal jurisdiction over Mr. Wagner, nor has CER even sought the leave of the
court to do so in the two months since Arch filed its response.


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  Enter this 18th day of November 2015.

                                              ______________________________
                                              ALETA A. TRAUGER
                                              United States District Judge




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